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                   Exhibit 1
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NIH FREEDOM OF INFORMATION ACT REQUEST

VIA ONLINE PORTAL                                                              August 16, 2024

Gorka Garcia-Malene
Freedom of Information Act Officer
National Institutes of Health
Building 31 Room 5B35
9000 Rockville Pike
Bethesda, Maryland 20892

       Re:     Communications Concerning CDC Influenza Data (IR#1157C)

Dear Sir or Madam:

      This firm represents Informed Consent Action Network (“ICAN”) and Mississippi
Medical Professionals for Informed Consent (“MMPIC”). On behalf of ICAN and
MMPIC, please provide the following records to foia@sirillp.com in electronic form:

                   All communications (including but not limited to emails, text
                   messages, direct messages, Teams chats, Slack chats, Signal
                   messages, etc.) sent and/or received by Anthony Fauci, Greg
                   Folkers, and/or David Morens from April 1, 2020 through
                   April 1, 2022 that contain the terms “CDC” AND (flu
                   AND/OR influenza) AND (mortality, death!, error!,
                   problem!, issue!, inconsistent, data, AND/OR burden).

                   ! = Boolean search

        We ask that you waive any and all fees or charges pursuant to 5 U.S.C. § 552(a)(4)(A)(iii).
ICAN is a not-for-profit news media organization whose mission is to raise public awareness about
vaccine safety, other medical treatments, environmental pollutants and toxins, and overall health
choices, and to provide the public with information needed in order to give informed consent. As
part of its mission, ICAN actively investigates and disseminates scientifically-based health
information regarding the safety of vaccines, other medical treatments, environmental pollutants
and toxins, and governmental activities for free through its website, a weekly health news and talk
show, and through press events and releases. The HighWire website has approximately 3.4 million
weekly visitors. On X (formerly known as Twitter), The High Wire has approximately 190,000
followers and 1 to 2.5 million impressions in a 28-day period. On Rumble, The HighWire has
approximately 83,000 followers and growing. The size of ICAN's audience and subscribers
continues to grow and is illustrative of the wide public interest in the subject of health and medical
safety. Critical to ICAN's mission is its proven ability to find and review critical scientific and
governmental records and meaningfully report about their social impacts. One of the tools ICAN
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uses to gather the raw material it uses in its popular investigative reporting is the Freedom of
Information Act (“FOIA”). ICAN is seeking the information in this FOIA request to allow it to
contribute to the public understanding of government programs and any potential effects of same
on public health. The information ICAN is requesting will not contribute to any commercial
activities. Therefore, ICAN should be properly categorized as a media requester, and it is entitled
to the search and processing privileges associated with such a category designation. Accordingly,
ICAN will be forced to challenge any agency decision that categorizes it as any other category of
requester.

        MMPIC is a not-for profit organization comprised of medical professionals throughout the
state of Mississippi. MMPIC’s mission is to raise public awareness about vaccine safety, other
medical treatments, and overall health choices, and to provide the public with information needed
in order to give informed consent. MMPIC is seeking the information in this FOIA request to allow
it to contribute to the public understanding of government programs and actions and any potential
effects of those programs and actions on public health. The information MMPIC is requesting will
not contribute to any commercial activities.

        Please note that the FOIA provides that if only portions of a requested file are exempted
from release, the remainder must still be released. We therefore request that we be provided with
all non-exempt portions which are reasonably segregable. We further request that you describe
any deleted or withheld material in detail and specify the statutory basis for the denial as well as
your reasons for believing that the alleged statutory justification applies. Please also separately
state your reasons for not invoking your discretionary powers to release the requested documents
in the public interest. Such statements may help to avoid unnecessary appeal and litigation. ICAN
and MMPIC reserve all rights to appeal the withholding or deletion of any information.

        Access to the requested records should be granted within twenty (20) business days from
the date of your receipt of this letter. Failure to respond in a timely manner shall be viewed as a
denial of this request and ICAN and MMPIC may immediately take further administrative or legal
action.

      Furthermore, we specifically request that the agency provide us with an estimated date of
completion for this request.

        If you would like to discuss our request or any issues raised in this letter, please feel free
to contact us at (240) 732-6737 or foia@sirillp.com during normal business hours. Thank you for
your time and attention to this matter.

                                                        Sincerely,

                                                        /s/ Aaron Siri
                                                        Aaron Siri, Esq.
                                                        745 Fifth Ave., Suite 500
                                                        New York, NY 10151
                                                        foia@sirillp.com
                                                        (240) 732-6737


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